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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                 Eastern Division

Flava Works Entertainment, Inc., et al.
                                          Plaintiff,
v.                                                     Case No.: 1:24−cv−09725
                                                       Honorable Franklin U. Valderrama
Joel Lewitzky, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 12, 2024:


        MINUTE entry before the Honorable Franklin U. Valderrama: For the reasons
stated in the motion, the Court grants Plaintiffs' motion to amend the complaint and
convert John Does to named Defendants [22]. Plaintiff is directed to file the amended
complaint on the docket on or before 12/16/2024. Upon filing the amended complaint, the
Clerk is directed to issue summons to each defendant and provide them to plaintiff via his
email address listed on the court's docket. Mailed notice. (jcm)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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